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257-5

WO Lawn

STATEMENT OF WITNESS

Slatenent of Witness: Michelle inn Age: Over 18 years

This statement, consisting of 7 page(s) dgned by me is trie ta the best of my knowledge and bellef, |
know thet this statement may be accepted in evidence in the Coroner's Court af South Australia and that
if it contains material which is false or misleading in a rnarerial particular and whieh | know to be false
and misleading | will be gullty of an offence,

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Dated ihe a day of AY

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Witnessed hy Sy

Signature of Witness:

Relative to the death of:

| provided this statement to Detective Senior Constable First Class DAVIES ID no

HE on) Wednesday the 18" of March 2015,

lam the mother of Jacob |. He passed away on Thursday the 14" of
February 2013. | have been asked to provide a staternent in relation to how Jacob's

death has affected me

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Signed } | J be /o- = Siqnatire Wineased by

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South Australia Police PpLbL
STATEMENT OF WITNESS

Continuation of Statement of Michelle

Life with Jake was anything but ordinary of normal We had the funniest and the saddest
moments possible. The last few years of Jake's life were not easy He went on a journey
that took him to some dark places with consequences that on occasions almost and
eventually took his life. He had an addiction. An addiction that was fuelled and enabled
by many demons. One of which was the internet, Silk Road, What he (like many other
people with addiction) did not understand and he refused to acknowledge Is that he took
me with him on this journey. It was a journey that | did hot ask to go on. It was a journey
that we worked together to end many times but without success. On the 14” February
2013 Jake started me on a new journey. One that did not ask to go on nor do | want to

be part of

Now | am left with a life sentence for a crime that! did not commil. Grief | am left to
spend the rest of my life wondering Wondering why he started, Wondering why he could
not stop, Wondering what pain of trauma was he trying to forget. Is it my fault? Wes | a
bad parent? Where did | go wrong? Did | do enough to help him? Did | do enough to
slop him? Why wouldn't he listen to me? Why do | have to go through this? What did |
do to deserve this? Why has this happened? Why me? Why Jake? Why me? Why Jake?

lt seems | am condemned to life of endless questions that | will never get answers for.

Shame and guill Telling peaple about Jake's journey and how he died is a conversation
killer People do not know how to respond. They just do not know what to say. Instead
they judge. They judge me as a person and they judge meas a parent. “Oh weil, she
must be @ druggie too”. "Well he was from a single parent family and we all know what
thal means”. No one has Said this to me bul | know people are talking and will continue

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Signed ‘\ QL &! aqda -G— _ Signature Witnesand by; tiff
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to talk, It feels like society does not care People who die from a drug related death are
not reported on the news but il is a tragedy, and yet a story people do not want to hear.
People do not want to hear that everyday someone lost their precious daughter or their
loving son. All aver the world is the sound of hearts breaking and yet nobody can hear it.
A heart like mine. There is no organisation thal swoops in on your family and offers
support like It would if your child died of cancer. People offer theif condolences. send
you flowers and then promptly get on with their lives | am left standing. Feeling very
alone wondering how do | get on with mine. How do | pick up the pieces of my shattered
heart and live a long and happy life? What does happiness mean now? It is something

that | struggle to redefine

Although Jake passed away just over two years aga, my grieving started a long time
ago, | had to learn to live with the fact that Jake would not grow up to be the man |
thought he should be and had the poteritial to be. Living with a loved one who's life is
spiralling downward ata fast pace is an incredibly difficult journey to be part, particularly
when you feel like a bystander Someone watching, Trying to reach out and doing
everything you can yet feeling like a bystander. The approach | took to protect myself
from the emotional pain was to manage. Manage his behaviour Pul in boundaries. Stop
enabling. This resulted in me asking him ta move out of home all the while knowing he
had nowhere to go, The feelings.of anxiety and quilt and are indescribable This went
against my belief thal my job as a mother was ta protect and provide a good hame.
There were times | dic not hear from him for days or weeks and then It would get to a
point where | had to Know, sa | would go looking for him. The fear that he had turned to
crime and was living on the street made me feel sick. Physically sick, Endless days af

nausea, Waiting for the Knock on the door. Fortunately, this never happened and the

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STATEMENT OF WITNESS

Continuation of Statement of Michetle Ri

boundaries and rules that | put in place meant that home was a safe place for Jake. And
when Ne needed a break, when he needed time out— he came home When he asked to
move home, for what would be his las! few weeks, | said yes, but the boundaries and

rules remained He came home for help One more try to get this monkey off his back,

| decided that | would never give up on Jake Statistics tell me that | should have Cut
your ties, count your losses and keep yourself safe, But if | gave up, then who would
believe in him, Who would believe (hat he would get through this, wha would be there for
him when he was ready? The to-ing and fro-ing in my head resulted in days when |
could not work because the anxiety got the better of me. Over time | realised it had to be
me, | was the one that had to be strang and | vowed to do everything | could to help him.
Enjoy the good times and manage the bad. | sel a benchmark myself — could | stand up
at Jakes funeral and feel confident that | had done everything | could to help him. Not

once believing this would bacome the reality

Forgetting and remembering, | loved Jake thraugh the good times and bad and | do not
want to forget any of that. Grief has had a huge impact on my memory, And yet | cannot
forget what it felt like when | found him the night he died. | cannot forget hew it fell to ring
my sister, ask my neighbours for help. to face my family and Jake's friends. | cannot
forget the level of heighten anxiety when | see people for the first time since ha passed.
Do they know, do they not know, what will | say if they ask me? Al the moment | seem to
remember more of the bad then the good. | hope my memory recovers and the good

comes back.

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Continuation of Statement of Michelle
Jake was my family | lost my family in one night, | have not had the epportunity to have
more children and | did not mind because | fell complete | had my family. | had my Jake
Now | feal incredibly incomplete, When | die that is the end of me There is no part of me
left in the world. When | grow ald, who will go with me to doctors’ appointments? Who
will visit me in the nursing home? |.am most hurt Knowing that | will not have
grandchildren, a part of my life | was most laoking forward to The truth is that in the last
few years of Jake's life, he caused me so much pain and suffering Now, | would give
anything to have that back. | would give anything for him to walk through that door |
would give anything to not know where he is and if he is ok. | would do anything to be
sitting in the hospital's intensive care unit again waiting for him to wake up from an
overdose, Anything. It was hard A very difficult time, yet easy compared ta this. This

grief,

Lasing Jake has also affected my wider family, My sisters lost me (to grief) for a while
and still do some days, as | just cannot love and support them the way | used to. My
parents lost their first grandson, They played @ majar role in raising Jake and they were
very close. Jake's passing is something they may never fully understand as addiction ts
not discussed by their generation, nor do they understand the power of the intemet My
father initially suffered from heart failure and a mild heart attack following Jake's death
which resulted in a couple of weeks in hospital each time Bath Mum and Dad now suffer
from sleepless nights that they cannot explain and overall their general health has

suffered. | can explain, It is called grief,

Both of my sisters have suffered from the anxious moments that | have experienced,

what will | say? How do | say it? They too have had to take days off work When the grief

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Continuation of Statement of Michelle =’
has become too much. | have a young nephew and niece, They have had their world
turned upside down, Thelr cousin, whe they loved dearly, has gone fram their
lives. Their mum, my sister, has had to have conversations with them that na parent
should have to. She has had to have discussions about suicide (as this Is what people
think when young people die suddenly), drug addiction and then finally the truth. My
nephew and niece are at a loss to explain to their friends why they did not come to
school, they struggle to explain who the person in the photos is. They have suffered
multiple unexplained emotional outbursts, separation anxiety and sleepless nights. Bul
most of all they just miss hanging out with Jake, playing Xbox, watching movies and we

all miss his sideways hugs. Grief has invaded my whole family and taken so much

Grief is like roller coaster. | do not know whal is around the comer, | do not know what Is
over the next rise and | cannot get off, | am trapped. What | do know Is that grief fits you
from nowhere. There you are busily getting on with what your life and then bang, It’s a
smell, a song, @ t-shirt. a colour, an expression, a person, a memory. It comes out of
nowhere and leaves you flat for a moment, a day or maybe a week, People think that the
anniversary or a birthday of someone wha has passed is a day The reality is for me is
that it lasts for weeks. The anxiety slowly builds up. What will | do? How will | feel? Wha
do | want to be with? Can | go to work today? The day comes: and it is gut wrenching,
Shattering. A day to think about what | have lost, Those thoughts are there every day. It
ison (hese days | cannot pul it in a box and close the lid, Once the lid has been opened,
| have no choice but to deal with it, usually this means for weeks al a time. Grief fills my

head, | carinot work | cannot socialise. | can only breathe and sleep. lt becomes my life

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STATEMENT OF WITNESS

Continuation of Statement of Michelle

| was offen fearful that a stranger would knock on my door seeking money thal Jake
owed of looking for drugs. | was al limes fearful for my safety As It turns out, | should
have been more feartul of the internet, The internet makes |t too easy. Silk Road made
buying and selling drugs safe Buying drugs over the internet eliminated the risk of
threat, The risk of being robbed or physically hurt. It eliminated the risk of meeting a
stranger ina dark alley All things Jake was fearful of In fact, Silk Road meant thal Jake
did not even have to leave the comfort of his hame. My home. The home | had created
a5 a safe place Drugs are not tolerated, | find, | flush Not in my house This behaviour
is not acceptable. Then Silk Road walked in. Uninvited Providing a platform thal prays
of the weak and vulnerable. A platform to bring Illegal activities into my home. It is not

ok. In fact, II is nol fair, My loss will always be greater thar yours,

| turned 40 the year Jake passed and my frends kept telling me to have a party and thal
| should celebrate. All the while | was thinking that if | was turning 40 and lived to 85, |l
would be 45 years | would have to live without Jake. | would have to live with this ‘grief’, |
did not want to celebrate. | barely remember my life before Jake entered |t and the
thought of living without him is overwhelming, VVhat | do know is thal life without Jake

will continue to ba anything but ordinary and normal,

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